Case: 2:23-cv-00512-SDM-EPD Doc #: 137 Filed: 06/25/23 Page: 1 of 9 PAGEID #: 1163




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 ROOT, INC., et al.

                Plaintiffs,                     Case No. 2:23-cv-00512

        v.                                      Judge Sarah D. Morrison

 BRINSON CALEB SILVER, et al.,                  Magistrate Judge Elizabeth Preston Deavers

                Defendants.


   DEFENDANTS’ BRINSON CALEB SILVER, COLLATERAL DAMAGE, LLC, AND
          ECLIPSE, LLC’S JOINT MOTION TO STAY PROCEEDINGS


       Defendants Brinson Caleb Silver (“Silver”), Collateral Damage, LLC (“Collateral

Damage”) and Eclipse Home Design, LLC (“Eclipse”) (collectively the “Defendants”) move for a

stay of these proceedings until the related criminal case against Silver has been resolved.

Specifically, Defendants ask this Court to stay any further discovery and to hold all deadlines in

abeyance, while allowing the Receiver to continue operating in his role.

                                                    Respectfully submitted,

                                                    /s/ Matthew L. Jalandoni
                                                    Matthew L. Jalandoni (OH: 0087074)
                                                    (Trial Attorney)
                                                    W. Benjamin Reese (OH: 0096108)
                                                    Flannery | Georgalis, LLC
                                                    175 S. Third Street, Suite 1060
                                                    Columbus, OH 43215
                                                    Tel/Fax: (380) 444-6027
                                                    mjalandoni@flannerygeorgalis.com
                                                    breese@flannerygeorgalis.com
                                                    Counsel for Defendants, Brinson C. Silver,
                                                    Eclipse Home Design, LLC, and Collateral
                                                    Damage, LLC
Case: 2:23-cv-00512-SDM-EPD Doc #: 137 Filed: 06/25/23 Page: 2 of 9 PAGEID #: 1164




        MEMORANDUM IN SUPPORT OF MOTION TO STAY PROCEEDINGS

       I.      Introduction

       On June 20, 2023, Silver was arrested and charged with criminal contempt of court under

18 U.S.C. § 401(3), in the case captioned United States of America v. Brinson Caleb Silver, 2:23-

mj-363. The criminal complaint alleges that Silver willfully disobeyed multiple court orders in this

civil case, including, for example, by engaging in financial transactions that violated the

preliminary injunction order. See U.S. v. Silver, 2:23-mj-363, (ECF. No. 1, PageID #4.) Silver is

currently detained pending a District Court Judge’s review of the Magistrate’s Order Setting

Conditions of Release. 2:23-mj-363, (ECF. Nos. 10 and 11.) These conditions include executing a

$1 million bail bond, being placed on home detention, GPS monitoring, and surrendering his

passport to the Clerk of Court. Id. The government is seeking review to impose indefinite detention

while the criminal charge is pending. See id.; (ECF No. 12.)

       On the same date, this Court held Silver in civil contempt of court until such time as he

produces “information and documentation to the satisfaction of the Receiver.” (ECF No. 132,

PageID #1076.) Silver also undoubtedly faces the specter of additional federal criminal charges

based on the conduct alleged in Plaintiffs’ Amended Complaint, which includes allegations of

fraud, theft, and conspiracy, among others.

       In short, this case is now laced with not merely the threat, but the reality of criminal liability

and exposure for Silver. Any further proceedings in this case would pose a substantial threat to his

Fifth Amendment rights against self-incrimination. Additionally, Silver’s current pretrial detention

on the criminal charge makes it challenging to search for and produce discovery, among other

litigation tasks. As such, Defendants seek to stay these civil proceedings until such time as the

criminal proceedings have been resolved.
                                                   2
Case: 2:23-cv-00512-SDM-EPD Doc #: 137 Filed: 06/25/23 Page: 3 of 9 PAGEID #: 1165




       II.     Law and Argument

       It is well established that “‘the power to stay proceedings is incidental to the power inherent

in every court[.]’” Ohio Environmental Council v. U.S. Dist. Court, Southern Dist. Of Ohio, E.

Div., 565 F.2d 393, 396 (6th Cir. 1977) quoting Landis v. North American Company, 299 U.S. 248,

254-55, 57 S.Ct. 163, 166, 81 L.Ed. 153 (1936). In deciding whether to grant a stay, district courts

are endowed with “broad discretion.” Clinton v. Jones, 520 U.S. 681, 706, 117 S.Ct. 1636, 137

L.Ed.2d 945 (1997). District courts commonly consider a variety of factors in making this decision,

including:

       1) the extent to which the issues in the criminal case overlap with those presented
       in the civil case; 2) the status of the case, including whether the defendants have
       been indicted; 3) the private interests of the plaintiffs in proceeding expeditiously
       weighed against the prejudice to plaintiffs caused by the delay; 4) the private
       interests of and burden on the defendants; 5) the interests of the courts; and 6) the
       public interest.

F.T.C. v. E.M.A. Nationwide, Inc., 767 F.3d 611, 627 (6th Cir. 2014) quoting Chao v. Fleming, 498

F.Supp.2d 1034, 1037 (W.D. Mich). And, importantly, “district courts ‘should consider “the extent

to which the defendant’s fifth amendment rights are implicated.’” Id. quoting Keating v. Office of

Thrift Supervision, 45 F.3d 322, 324 (9th Cir. 1995) and Fed. Sav. & Loan Ins. Corp. v. Molinaro,

889 F.2d 899, 902 (9th Cir. 1989).

       In this case, the weight of these factors favors a stay. The civil and criminal cases clearly

overlap, and a broader criminal case is foreseeably imminent. Plaintiffs’ interests remain protected,

as the requested stay would not affect the Receiver’s work to identify and obtain control over

assets. Silver’s interest in protecting his Fifth Amendment right against self-incrimination, on the

other hand, necessitates a stay. A stay would improve judicial economy by avoiding a dual-track




                                                 3
Case: 2:23-cv-00512-SDM-EPD Doc #: 137 Filed: 06/25/23 Page: 4 of 9 PAGEID #: 1166




approach to this litigation. And the public interest would not be harmed by this stay and would

arguably be served by it.

               A. The allegations in the civil and criminal cases overlap.

       As discussed above, the criminal and civil cases against Silver are inextricably intertwined.

The contempt charge stems from Silver’s conduct in the civil case, and the predicted additional

charges will likely concern the same alleged conduct that gave rise to the civil case. Any actions

in the civil case are therefore likely to impact the criminal case, and vice versa.

       Because these cases involve the same subject matter, a stay is appropriate. See Chao, 498

F. Supp. 2d at 1039 (W.D. Mich. 2007), citing Brock v. Tolkow, 109 F.R.D. 116 (E.D.N.Y. 1985)

(A stay of civil proceedings “is most likely to be granted where the civil and criminal actions

involve the same subject matter.”); Baird v. Daniels, No. 1:12-CV-945, 2013 WL 493236 (S.D.

Ohio Feb. 7, 2013) (“The extent to which the issues in the criminal investigation overlap with

those presented in the civil case weigh in favor of a stay.”); ArmorSource LLC v. Kapah, No. 2:18-

CV-905, 2019 WL 1039748 (S.D. Ohio March 5, 2019) (granting a motion to stay when the

criminal and civil proceedings overlap); Coley v. Lucas Cty., Ohio, No. 3:09 CV 0008, 2011 WL

5838190 (N.D. Ohio November 18, 2011) (finding that a significant overlap between the civil and

criminal cases favors a stay).

       Not only that, but the risk of criminal proceedings against Silver is no longer a mere

hypothetical. The government has now formally brought a criminal contempt charge against Silver.

And at this point, additional criminal charges are reasonably foreseeable, given that the special

agent who submitted the criminal contempt complaint is assigned to the “complex financial crimes

squad[,]” and the government has argued for the indefinite pretrial detention of Silver. 2:23-mj-

363, (ECF. No. 1, PageID #2; ECF No. 12.) Thus, the criminal proceedings against Silver are now

                                                  4
Case: 2:23-cv-00512-SDM-EPD Doc #: 137 Filed: 06/25/23 Page: 5 of 9 PAGEID #: 1167




in motion, weighing in favor of a stay. See Eastwood v. United States, No. 2:06-CV-164, 2008 WL

5412857, at *4 (E.D. Tenn. Nov. 14, 2008), citing Walsh Secs., Inc. v. Cristo Prop. Mgmt., 7

F.Supp.2d 523, 527 (D.N.J. 1998) (“Although the strongest case for deferring civil proceedings

occurs where a party is under indictment for a serious offense involving the same matter, a pre-

indictment stay of civil case that relates to a pending criminal investigation may be granted ‘if the

government is conducting an active parallel investigation.’”).

               B. Silver cannot actively participate in the civil matter without jeopardizing
                  his Fifth Amendment right against self-incrimination.

       Another factor that weighs heavily in favor of a stay of the civil proceedings is Silver’s

private interest in preserving his Fifth Amendment right against self-incrimination. See Doe v.

Matthew 25, Inc., 322 F.Supp. 3d 843, 850 (M.D. Tenn. 2018) (“The simultaneous litigation of

criminal charges and civil causes of action against the same person, for the same conduct, ‘may

give rise to Fifth Amendment concerns sufficient to warrant a stay of the civil proceedings.’”); see

also Chao, 498 F. Supp. 2d at 1037, citing Trustees of Plumbers & Pipefitters Nat’l Pension Fund

v. Transworld Mech., Inc., 866 F. Supp. 1134, 1138 (S.D.N.Y. 1995) (“[T]he denial of a stay could

impair a party's Fifth Amendment privilege against self-incrimination, extend criminal discovery

beyond the limits set forth in Federal Rule of Criminal Procedure 16(b), expose the defense's

theory to the prosecution in advance of trial, or otherwise prejudice the criminal case.”). Silver has

a legitimate interest in exercising his Fifth Amendment rights, but doing so is having an outsized

impact on the Defendants ability to defend themselves in this civil case. It has already affected

Silver’s ability to Answer, as well as all three Defendants’ ability to respond to interrogatories and

requests for admission—not to mention certain information requests from the Receiver to which




                                                  5
Case: 2:23-cv-00512-SDM-EPD Doc #: 137 Filed: 06/25/23 Page: 6 of 9 PAGEID #: 1168




the Court has ordered Silver to respond. If this case proceeds further, it will similarly impact

depositions, civil contempt determinations, and other future proceedings.

        In contrast, once the criminal proceedings have concluded, Silver will likely be more able

to answer questions without risking self-incrimination. Staying this case until the conclusion of

the criminal proceedings would thus serve to protect Silver’s Constitutional rights while also

allowing for this case to resume at a time when the invocation of those rights will no longer styme

this case.

                C. Plaintiffs’ interests will be advanced through the continued work of the
                   Receiver and the parallel criminal case.

        Additionally, Defendants note that Plaintiffs’ countervailing interests will be protected

through the Receiver’s continuing ability to function under this requested stay. Beyond preventing

the parties and the Receiver from requiring Defendants’ disclosure of information, Defendants are

not asking to put any other restraints on the Receiver through this requested stay, and do not oppose

having the Receiver continue to perform his function, including but not limited to his sale of real

property and other assets. Once the criminal case is resolved, this case could then resume with the

benefit of that information.

        It is also worth noting that, to the extent Plaintiffs have an interest in a continuing

investigation into the allegations underlying its complaint, a criminal case will likely mean that

the government will take the lead on the investigation, bringing to bear a wider range of

investigative methods and resources that are not available to a private parties like Plaintiffs. And

Plaintiffs may be able to obtain relief from a resolution in the criminal case without the time and

expense of further civil litigation.




                                                 6
Case: 2:23-cv-00512-SDM-EPD Doc #: 137 Filed: 06/25/23 Page: 7 of 9 PAGEID #: 1169




               D. A stay promotes judicial economy.

       A stay would also create an opportunity for this case to work itself out of the knot it is

currently in, serving the Court’s interest in judicial economy. Not only would it eliminate Silver’s

Fifth Amendment concerns, but by allowing the criminal case to proceed first, the Court avoids

duplicitous work associated with a parallel track. Eagle Auto Parts, Inc v. City of Cleveland, No.

1:15-CV-01450, 2015 WL 5782094, *2 (granting a motion to stay observing that discovery efforts

in a civil and criminal case based upon the same facts and circumstances would be duplicative).

Said differently, if the criminal proceedings are permitted to go first, and the civil case is stayed

until those proceedings have concluded, the criminal proceedings may serve to blaze a trail for the

civil proceeding to follow. The preservation of judicial resources, while not the most important

factor, is nonetheless an important consideration. Eagle Auto Parts, Inc., No. 1:15-CV-01450, 2015

WL 5782094, * 2 (granting a motion to stay and holding that “a stay would further judicial

economy and convenience”) (N.D.Ohio October 1, 2015); F.T.C. v. E.M.A. Nationwide, Inc., 767

F.3d 611, 628 (“The most important factor is the balance of the hardships, but ‘[t]he district court

must also consider whether granting the stay will further the interest in economical use of judicial

time and resources.’ Int'l Bhd. of Elec. Workers v. AT & T Network Sys., No. 88–3895, 879 F.2d

864, 1989 WL 78212, at *8 (6th Cir. Jul. 17, 1989).”).

               E. Public interest supports entry of a stay.

       A stay “does not mean that enforcement of the public interests at stake in the civil case will

be indefinitely deferred,” especially in these circumstances because “a criminal prosecution serves

to enforce those same interests.” Brock v. Tolkow, 109 F.R.D. 116, 121 (E.D.N.Y. 1985). Indeed,

Plaintiffs are “free to petition this Court to lift or modify the stay should there be [a] change in



                                                 7
Case: 2:23-cv-00512-SDM-EPD Doc #: 137 Filed: 06/25/23 Page: 8 of 9 PAGEID #: 1170




circumstances that would warrant such action.” Id. Accordingly, a review of all factors weighs in

favor of a stay of the current civil proceeding.

       III.    Conclusion

       Defendants are seeking this stay because Silver is now a party in dual criminal and civil

cases, with a foreseeable risk that the criminal case will expand to incapsulate many of the

allegations contained in the civil case. This dual litigation is placing a heavy burden on Defendants,

as their ability to litigate the civil case, including responding to the allegations and discovery

requests and attempting to purge this Court’s civil contempt order, is being hampered by the need

to preserve Silver’s Fifth Amendment right against self-incrimination. Staying the civil case and

allowing the criminal case to proceed first should resolve this issue, and it may ultimately resolve

the dispute between the parties. In addition, it can be done in a way that does not place a substantial

burden on Receiver’s ability to continue to function. And finally, the stay would be in the best

interests of both the Court and the public.

       For these reasons, the Defendants respectfully ask the Court to stay these proceedings until

at least such time as the criminal charge pending against Silver has been resolved.

                                                       Respectfully submitted,

                                                       /s/ Matthew L. Jalandoni
                                                       Matthew L. Jalandoni (OH: 0087074)
                                                       (Trial Attorney)
                                                       W. Benjamin Reese (OH: 0096108)
                                                       Flannery | Georgalis, LLC
                                                       175 S. Third Street, Suite 1060
                                                       Columbus, OH 43215
                                                       Tel/Fax: (380) 444-6027
                                                       mjalandoni@flannerygeorgalis.com
                                                       breese@flannerygeorgalis.com
                                                       Counsel for Defendants, Brinson C. Silver,
                                                       Eclipse Home Design, LLC, and Collateral
                                                       Damage, LLC
                                                   8
Case: 2:23-cv-00512-SDM-EPD Doc #: 137 Filed: 06/25/23 Page: 9 of 9 PAGEID #: 1171




                                 CERTIFICATE OF SERVICE
       I hereby certify that on June 25, 2023, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to the represented parties by operation of the Court’s electronic

filing system. A copy was also sent by ordinary U.S. Mail, postage prepaid, on June 25, 2023, to

the following:

Paige McDaniel
5576 Alexanders Lake Road
Stockbridge, GA 30281
                                              /s/ Matthew L. Jalandoni
                                              Matthew L. Jalandoni

                                              Counsel for Defendants, Brinson Caleb Silver,
                                              Eclipse Home Design, LLC, and Collateral Damage,
                                              LLC




                                                 9
